                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                              Case No. 3:07MJ76

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
vs.
                                            )
ALFREDO SUSI,                               )
                                            )
                      Defendant.            )

                                            ORDER

        THIS CAUSE having come before the Court on defense counsel’s Motion to Appear Pro

Hac Vice, and the Court having reviewed the Motion, and having found that the requirements of

Local Rule 83.1(B) are satisfied, and good cause appearing therefor,

        IT IS HEREBY ORDERED that defense counsel, RICARDO P. HERMIDA, be

specially admitted to represent the defendant, ALFREDO SUSI, in the above captioned matter.




                                                Signed: June 4, 2007




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